
83 So. 3d 983 (2012)
Dustin JONES, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-6504.
District Court of Appeal of Florida, First District.
March 28, 2012.
Dustin Jones, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Heather Flanagan Ross, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition for belated appeal, filed December 5, 2011, is treated as a motion for reinstatement of the petition for belated appeal in case number 1D10-3499, filed July 1, 2010, and is granted. The proceeding in case number 1D10-3499 is hereby reinstated.
Upon consideration of the state's response filed February 3, 2012, Petitioner is hereby granted a belated appeal of the April 22, 2009, order denying motion to correct illegal sentence in Bay County Circuit Court case number 02-CF-3449-H. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(6)(D).
ROBERTS, CLARK, and SWANSON, JJ., concur.
